           Case 1:17-cv-00756-LY Document 39 Filed 06/11/18 Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

JUNIOR VOLLEYBALL ASSOCIATION                    §
OF AUSTIN d/b/a AUSTIN SPORTS                    §
CENTER, and AUSTIN SPORTS CENTER,                §
LLC,                                             §
                                                 §
       Plaintiffs,                               §
                                                 §
v.                                               §           Cause No. 1:17-cv-00756-LY
                                                 §
SUMMIT HOSTING LLC, f/k/a                        §
SOFTWARE LINK HOSTING, LLC f/k/a                 §
SOFTWARE LINK, INC.,                             §
                                                 §
       Defendant.                                §


                     DEFENDANT SUMMIT HOSTING, LLC’S MOTION
                          FOR WITHDRAWAL OF COUNSEL

       Defendant, Summit Hosting, LLC, f/k/a Software Link Hosting, LLC f/k/a Software

Link, Inc. (“Summit Hosting”), by and through counsel, hereby moves for an order withdrawing

attorney J. Malcolm Cox from this action and removing him from service and notices on all

matters relating to this action. As grounds therefore, Summit Hosting states that Mr. Cox will no

longer be affiliated with the law firm of Barnes & Thornburg LLP after June 29, 2018.

       Summit Hosting continues to be represented by lead attorney Elizabeth C. Brandon of the

law firm of Barnes & Thornburg LLP and by pro hac vice admitted attorneys Jeffrey C. Morgan

and Sarah Hannah Phillips of the law firm of Barnes & Thornburg LLP, all of whom should

continue to receive service and notices on all matters relating to this action.




                                                                                          Page | 1
DEFENDANT SUMMIT HOSTING, LLC’S MOTION FOR WITHDRAWAL OF COUNSEL
           Case 1:17-cv-00756-LY Document 39 Filed 06/11/18 Page 2 of 3




        Good cause exists for this withdrawal and is being effected at the direction of Summit

Hosting. This action is not being taken for purposes of delay and will not work to delay the

resolution of this case.

        WHEREFORE, Defendant Summit Hosting prays that the court enter an order approving

this withdrawal of counsel of record.

         Dated: June 8th, 2018

                                           Respectfully submitted,

                                           BARNES & THORNBURG LLP

                                               /s/ Sarah Hannah Newman
                                               Elizabeth C. Brandon
                                               Texas Bar No. 24049580
                                               J. Malcolm Cox
                                               Pro Hac Vice
                                               Georgia Bar No. 773303
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                                               Attorneys for Defendant
          Case 1:17-cv-00756-LY Document 39 Filed 06/11/18 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of June, 2018, I electronically filed the foregoing

Defendant Summit Hosting, LLC’s Motion for Withdrawal of Counsel with the Clerk of the

Court using the CM/ECF system, which sent notification of such filing to all counsel of record.



                                                /s/ Sarah Hannah Newman
                                                Sarah Hannah Newman
